Case 1:17-cv-22440-KMW Document 17 Entered on FLSD Docket 08/17/2017 Page 1 of 6

                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 17-CV-22440-WILLIAMS/TORRES
  MANUEL FONS,

         Plaintiff,
  vs.
  LATIN MOTORS INTERNATIONAL, LLC.,
  a Florida Corporation and SANTIAGO
  HERRERA QUIJADA,
  an individual,

        Defendant.
  __________________________________/

       DEFENDANTS, LATIN MOTORS INTERNATIONAL, LLC. AND SANTIAGO
         HERRERA QUIJADA’S ANSWER AND AFFIRMATIVE DEFENSES TO
                         PLAINTIFF’S COMPLAINT


     Defendants, LATIN MOTORS INTERNATIONAL, LLC and SANTIAGO HERRERA

  QUIJADA, by and through undersigned counsel hereby files their Answer and Affirmative

  Defenses to Plaintiff’s Complaint as follows:

     1. Paragraph 1 is a legal preamble and therefore, does not require a response. However, in

         an abundance of caution, Defendants deny this paragraph.

     2. Defendants are without knowledge of the allegations of paragraph 2 of the Complaint and

         therefore deny same.

     3. Defendants, Latin Motor International, LLC admits the allegations of paragraph 3.

     4. Defendants admit the allegations of paragraph 4.

     5. Defendants deny the allegations of paragraph 5.

     6. Defendants deny the allegations of paragraph 6.

     7. Defendants deny the allegations of paragraph 7.

     8. Defendants deny the allegations of paragraph 8.
Case 1:17-cv-22440-KMW Document 17 Entered on FLSD Docket 08/17/2017 Page 2 of 6

     9. Defendants produce no goods and otherwise deny allegations of paragraph 9.

     10. Defendants deny the allegations of paragraph 10.

     11. Defendants deny the allegations of paragraph 11.

     12. Defendants deny the allegations of paragraph 12.

     13. Defendants deny the allegations of paragraph 13.

     14. Defendants deny the allegations of paragraph 14.

     15. Defendants deny the allegations of paragraph 15.

     16. Defendants deny the allegations of paragraph 16.

     17. Defendants deny the allegations of paragraph 17.

     18. Defendants deny the allegations of paragraph 18.

     19. Defendants deny the allegations of paragraph 19.

     20. Defendants deny the allegations of paragraph 20.

     21. Defendants adopt and reallege their responses to paragraphs 1 through 20 as set forth

        fully herein.

     22. Defendants deny the allegations of paragraph 22.

     23. Defendants deny the allegations of paragraph 23.

     24. Defendants deny the allegations of paragraph 24.

     25. Defendants deny the allegations of paragraph 25.

     26. Defendants deny the allegations of paragraph 26.

     27. Defendants deny the allegations of paragraph 27.

     28. Defendants deny the allegations of paragraph 28.

     29. Defendants deny the allegations of paragraph 29.

     30. Defendants deny the allegations of paragraph 30.

     31. Defendants deny the allegations of paragraph 31.

     32. Defendants deny the allegations of paragraph 32.
Case 1:17-cv-22440-KMW Document 17 Entered on FLSD Docket 08/17/2017 Page 3 of 6

     33. Defendants deny the allegations of paragraph 33.

     34. Defendants deny the allegations of paragraph 34.

     35. Defendants adopt and reallege their responses to paragraphs 1 through 20 as set forth

        fully herein.

     36. Defendants deny the allegations of paragraph 36.

     37. Defendants deny the allegations of paragraph 37.

     38. Defendants deny the allegations of paragraph 38.

     39. Defendants deny the allegations of paragraph 39.

     40. Defendants deny the allegations of paragraph 40.

     41. Defendants deny the allegations of paragraph 41,

     42. Defendants deny the allegations of paragraph 42.

     43. Defendants deny the allegations of paragraph 43.

     44. Defendants deny the allegations of paragraph 44.

     45. Defendants deny the allegations of paragraph 45.

     46. Defendants deny the allegations of paragraph 46.

     47. Defendants deny the allegations of paragraph 47.

     48. Defendants deny all allegations of paragraph 48.

     49. Defendants adopt and reallege their responses to paragraphs 1 through 20 as set forth

        fully herein.

     50. Defendants deny the allegations of paragraph 50.

     51. Defendants deny the allegations of paragraph 51.

     52. Defendants deny the allegations of paragraph 52.

     53. Defendants deny the allegations of paragraph 53.

     54. Defendants deny the allegations of paragraph 54.
Case 1:17-cv-22440-KMW Document 17 Entered on FLSD Docket 08/17/2017 Page 4 of 6

     55. Defendants adopt and reallege their responses to paragraphs 1 through 20 as set forth

        fully herein.

     56. Defendants deny the allegations of paragraph 56.

     57. Defendants deny the allegations of paragraph 57.

     58. Defendants deny the allegations of paragraph 58.

     59. Defendants deny the allegations of paragraph 59.

                                       AFFIRMATIVE DEFENSES

        As separate defenses, and without conceding that Defendants bear the burden of proof or

        persuasion as to any of them, Defendants allege as follows:

     1. Upon information and belief, Plaintiff’s Complaint, in whole or in part, fails to state a

        claim against Defendants upon which relief can be granted.

     2. Defendants assert that Plaintiff’s claim are barred in the Plaintiff were compensated for

        all hours suffered or permitted to work in accordance with the FLSA.

     3. Plaintiff’s claims are barred in whole or in part to the extent that the work performed falls

        within the exemptions provided for in Section 13(a) and/or (b) of the FLSA, 29 U.S.C. §

        213(a) or (b).

     4. Plaintiff’s claims are barred in whole or in part by any exemptions, exclusions,

        exceptions or credits provided in Section 7 of the FLSA, 29 U.S.C. § 207.

     5. To the extent that the period of time alluded to in the Complaint, or the period of time

        alleged later in this action, predates the limitations period set forth in Section 6(a) of the

        Portal-to-Portal Act. 29 U.S.C § 255(a), such claims of Plaintiff’s and any similarly-

        situated individuals are barred.

     6. Plaintiff’s claims are barred in whole or in part by the provisions of Section 4 of the

        Portal-to-Portal Act, 29 U.S.C. § 254, as to all hours during which he was engaged in

        activities which were preliminary or postliminary to his principal activities.
Case 1:17-cv-22440-KMW Document 17 Entered on FLSD Docket 08/17/2017 Page 5 of 6

     7. Plaintiff’s claims are barred in whole or in part by the provisions of Section 10 of the

        Portal-to-Portal Act, 29 U.S.C. § 259, because actions taken in connection with Plaintiff’s

        compensation were done in good faith in conformity with and reliance upon written

        administrative regulations, orders, rulings, approvals, interpretations, and written and

        unwritten administrative practices or enforcement policies of the Administrative of the

        Wage and Hour Division of the United States Department of Labor, or specific guidance

        provided by its District Offices.

     8. Plaintiff’s claims are barred in whole or in part by the provisions of Section 11 of the

        Portal-to-Portal Act, 29 U.S.C. § 260., because any acts or omissions giving rise to this

        action were done in good faith and with reasonable grounds for believing that the actions

        or omissions were not violation of the FLSA, and pursuant to specific guidance provided

        by the Depart of Labor, Wage and Hour Division.

     9. Defendants at all times acted in good faith to comply with FLSA and with reasonable

        grounds to believe that their actions did not violate the statutes cited in the Complaint,

        and Defendants assert a lack of willfulness or intent to violate FLSA as a defense to any

        claim by Plaintiff and alleged similarly-situated individuals for liquidated damages.

     10. Defendants assert that any claim for additional compensation by Plaintiff must be

        reduced by compensation already paid to Plaintiff for periods not compensable under the

        FLSA. See e.g., C.F.R. § 785.19.

     11. To the extent the work performed by the Plaintiff was voluntary in nature and without

        Defendant’s knowledge or authorization, was contrary to express instructions, it does not

        constitute compensable working time under the FLSA pursuant to 29 C.F.R. § 785.27,

        seq.

     12. Plaintiff’s claims are barred in whole or in part by the doctrine of de minimis non curat

        lex.
Case 1:17-cv-22440-KMW Document 17 Entered on FLSD Docket 08/17/2017 Page 6 of 6

     13. Plaintiff’s claims for damages are due to be defeated, reduced, or diminished by amounts

         that could have been, or in fact were, mitigated.

         Defendants reserve the right to plead other affirmative defenses which become known

         during the course of discovery in this case.

         WHEREFORE, Defendants respectfully requests entry of judgment on its affirmative

         defenses in its favor against Plaintiff, an award of costs, and such other relief that this

         Court deems just and equitable.



                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was filed and served

  via CM/ECF on this 17th day of August, 2017 to: Elvis J. Adan, Esq., (E-Mail:

  elvis.adan@gallardolawyers.com); Gallardo Law Office, P.A., 8492 SW 8th Street, Miami,

  Florida 33144.

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                                        By:__/S/ JONATHAN A. HELLER, ESQ.
                                               JONATHAN A. HELLER, ESQ.
                                               Florida Bar No. 340881
